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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND


     NEHA SINGH and SANDRA COX,                         )
     individually and on behalf of all others           )
     similarly situated,                                )
                                                        )
                               Plaintiffs,              )      Case No.:
                                                        )
                          v.                            )      CLASS ACTION COMPLAINT
                                                        )
     LENOVO (UNITED STATES) INC.,                       )
     1009 Think Place                                   )      JURY TRIAL DEMANDED
     Morrisville, North Carolina 27560                  )
                                                        )
                               Defendant.               )
                                                        )
                                                        )
                                                        )

                                    CLASS ACTION COMPLAINT

          Plaintiffs Neha Singh and Sandra Cox (collectively “Plaintiffs”), on behalf of themselves

and all persons similarly situated, by and through their attorneys, allege as follows based upon

personal knowledge as to themselves and their own acts and experiences, the investigation of their

attorneys, and, as to all other matters, upon information and belief.

                                             INTRODUCTION

          1.        Plaintiffs bring this class action on behalf of themselves and a class of current and

former owners of Lenovo-brand 700-series “2-in-1” Yoga laptop/tablets equipped with a dual-

hinge system (“Class Devices” or the “Devices”)1 in order to redress Defendant Lenovo (United




1
 This includes the Lenovo Yoga 700, 710, 720, and 730 models. Plaintiffs reserve the right to
amend or add to Lenovo models included in the definition of Class Devices after conducting
discovery, including Lenovo models with near identical forms, designs, and functions.

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States) Inc.’s (“Lenovo”) purposeful and knowing marketing, sale and warranting of defective

Class Devices.

          2.        Class Devices are “2-in-1” tablet/laptops that sell at a premium relative to

traditional tablets. According to Lenovo, Class Devices utilize a purportedly revolutionary dual-

hinge system that allows consumers to use Class Devices in one of four different configurations

as either a traditional laptop or a touchscreen tablet simply by folding one of the device’s surfaces

along its two hinges.

          3.        Class Devices, in fact, derive their trade name—the “Yoga”—from the alleged

flexibility afforded by the dual-hinge system, which, for all intents and purposes, is identical across

Class Devices with respect to design, form, assembly and function.

          4.        Unbeknownst to consumers, however, the dual-hinge system Lenovo utilizes in

Class Devices is defective in that it prematurely and unexpectedly cracks and fails, rendering the

hinges inoperable and prohibiting Plaintiffs and Class members from changing the configuration

of their Devices. The Defect thereby deprives owners of the Devices’ defining feature: the ability

to use their Device as either a tablet or a laptop (the “Defect”).

          5.        The Defect not only renders the hinges inoperable; it also damages other Device

components. As the Defect manifests and the hinges begin to crack and separate from the Devices,

optical cables within may begin to fray and cause screens begin to flicker before the hinge

ultimately comes loose and causes the plastic surrounding the screen (or the screen itself) to crack,

rendering Class Devices utterly useless.

          6.        Lenovo knew or should have known of the Defect long before it placed Class

Devices into the stream of commerce through, inter alia, durability testing during which it

purportedly subjected the dual-hinge system to 25,000 open-close cycles that mimic 8-10 years of




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use, and thus did or should have revealed the Defect, as well as customer reports concerning

failures of a nearly identical hinge system Lenovo used in prior Yoga models.

          7.        Yet, Lenovo elected to conceal the Defect from Plaintiffs and the Class. Indeed,

even when consumers advise Lenovo that the Defect has manifested in Class Devices, Lenovo

denies that the Defect exists and asserts hinges only fail when misused.

          8.        As a result of Lenovo’s unfair, deceptive, and/or fraudulent business practices in

connection with the Defect, current and former owners of Class Devices, including Plaintiffs, have

suffered an ascertainable loss of money, property, and/or loss in value. Had Plaintiffs and the Class

known about the Defect at the time of purchase, they would have paid substantially less for their

Class Devices, or would not have purchased them and avoided the significant out-of-pocket costs

they have or will incur to repair or replace Class Devices once the Defect manifests.

          9.        Accordingly, Plaintiffs bring this action to redress Lenovo’s violations of various

states’ consumer fraud statutes, breach of express and implied warranties, and other common law

wrongs.

                                      JURISDICTION & VENUE

          10.       This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

1332(d)(2), the Class Action Fairness Act of 2005, because: (i) there are 100 or more class

members, (ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of

interest and costs, and (iii) there is minimal diversity because at least one plaintiff and one

defendant are citizens of different States. This Court has supplemental jurisdiction over the state

law claims pursuant to 28 U.S.C. § 1367.

          11.       This Court has personal jurisdiction over Lenovo because it has conducted

substantial business in this judicial district, and intentionally and purposefully placed Class




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Devices into the stream of commerce within the district of Maryland and throughout the United

States.

          12.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendant transacts business in this district, advertises in this district and has received substantial

revenue and profits from its sales of Class Devices in this district, including to Plaintiff Singh and

other members of the Class; therefore, a substantial part of the events and/or omissions giving rise

to the claims occurred, in part, within this district.

                                                PARTIES
Plaintiff Singh

          13.       Plaintiff Neha Singh (“Plaintiff Singh”) is a citizen of the State of Maryland, and

currently resides in Baltimore, Maryland.

          14.       Plaintiff Singh purchased a Lenovo Yoga 710 14IKB in the beginning of 2017

through Amazon.com.

          15.       Prior to purchasing her Class Device, Plaintiff Singh researched different laptops

and viewed multiple advertisements from Lenovo, touting the Lenovo Yoga’s 360-degree rotation

(upon the Lenovo Yoga’s hinges) and touch screen features. These features persuaded Plaintiff

Singh to purchase a Class Device over competitive offerings.

          16.       At no point, either in researching Class Devices, at the point of sale or otherwise,

did Lenovo disclose the Defect to Plaintiff Singh. Had Lenovo disclosed the Defect to Plaintiff

Singh, she would not have purchased a Class Device.

          17.       Immediately after receiving her Class Device, Plaintiff Singh reviewed the Class

Device box and the documents included inside the box. Neither of these sources disclosed the

Defect to Plaintiff Singh.




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          18.       In May/June 2019, Plaintiff Singh’s Class Device’s screen started to flicker and

shut off, and a squeaking/cracking noise emanated from Plaintiff Singh’s device. Eventually,

Plaintiff Singh’s webcam also ceased functioning.

          19.       In March 2020, Plaintiff Singh’s Class Device’s hinge began to break down,

causing a noticeable gap between the hinge and the speaker, and the screen on her Class Device

began to separate from the rest of the Device.

          20.       Since her Class Device developed a noticeable gap between the hinge and speaker,

Plaintiff Singh has been unable to close her Device, instead having to leave it open at all times,

thereby eliminating the Device’s portability or hybrid functionality.

          21.       In late March 2020, Plaintiff Singh contacted Lenovo twice to seek warranty

coverage for the Defect, but Lenovo never responded.

          22.       Plaintiff Singh has suffered an ascertainable loss as a result of the Defect. Had

Lenovo disclosed the Defect to Plaintiff Singh, she would not have purchased a Class Device and

would have avoided the extensive costs she will incur to repair or replace it, or would have paid

substantially less for it.

Plaintiff Cox

          23.       Plaintiff Sandra Cox (“Plaintiff Cox”) is a citizen of the State of Missouri, and

currently resides in Kansas City, Missouri.

          24.       Plaintiff Cox purchased her Lenovo Yoga 710 in February 2017 from a Best Buy

retailer.

          25.       Prior to purchasing her Class Device, Plaintiff Cox researched different laptops and

viewed multiple advertisements from Lenovo, touting the Lenovo Yoga’s 360-degree rotation

(upon the Lenovo Yoga’s hinges). These features persuaded Plaintiff Cox to purchase a Class

Device over a competitive offering.

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          26.       At no point, either in researching Class Devices, at the point of sale or otherwise,

did Lenovo disclose the Defect to Plaintiff Cox. Had Lenovo disclosed the Defect to Plaintiff Cox,

she would have not purchased a Class Device.

          27.       Immediately after receiving her Class Device, Plaintiff Cox reviewed the box her

Class Device came in and the documents included inside the box. Neither of these sources

disclosed the Defect to Plaintiff Cox.

          28.       In late February 2020, Plaintiff Cox went to shut her Class Device and felt

resistance. She then noticed that the hinge on the lower left side of the Class Device had begun to

break down and pull apart.

          29.       Since that discovery, Plaintiff Cox’s Class Device’s screen began to crack upward

and outward from the broken hinge, and a piece of metal from inside of the screen is now visible,

eliminating the Device’s portability or hybrid functionality.

          30.       To prevent her Class Device from breaking any further, Plaintiff Cox has used

extreme caution in using it at all, and is unable to transport her Class Device anywhere, let alone

reconfigure it.

          31.       In late February/early March 2020, Plaintiff Cox contacted Lenovo via telephone,

but the calls kept getting disconnected.

          32.       Ultimately, Lenovo communicated to Plaintiff Cox that her warranty had expired,

but it would service Plaintiff Cox’s Class Device at her expense.

          33.       Plaintiff Singh has suffered an ascertainable loss as a result of the Defect. Had

Lenovo disclosed the Defect to Plaintiff Cox, she would not have purchased a Class Device and

would have avoided the extensive costs she will incur to repair or replace it, or would have paid

substantially less for it.




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The Defendant

          34.       Defendant Lenovo United States, Inc. is a corporation created under the laws of the

State of North Carolina, with its principal place of business in Morrisville, North Carolina.

                            TOLLING OF STATUTES OF LIMITATIONS

          35.       Any applicable statute(s) of limitations have been tolled by Lenovo’s knowing and

active concealment and denial of the facts alleged herein. Plaintiffs and the members of the Class

could not have reasonably discovered the true, latent nature of the Defect until shortly before this

class action litigation was commenced.

          36.       In addition, even after Plaintiffs and Class members contacted Lenovo and/or its

authorized retailers for Class Devices repairs concerning the effects of the Defect, they were

routinely told by Lenovo and/or through its retailers that the Class Devices were not defective and

that a breakdown of the hinge on a Class Device was the result of normal use of the Class Devices.

          37.       Lenovo was and remains under a continuing duty to disclose to Plaintiffs and the

members of the Class the true character, quality, and nature of the Class Devices. As a result of

Lenovo’s active concealment, any and all applicable statutes of limitations otherwise applicable to

the allegations herein have been tolled.

                                      FACTUAL ALLEGATIONS

A.        Class Devices

          38.       The Lenovo Yoga is a series of tablet/laptop 2-in-1 hybrids that first debuted in

2012. Lenovo claims Yoga devices offer a “premium experience for business, creativity, and

everyday use.”2




2
 See https://www.lenovo.com/us/en/laptops/yoga/700-series/Yoga-730-15/p/88YG7000965 (last
accessed on 4/7/2020).

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          39.       The Yoga series’ primary selling point is its ability to switch between four (4)

configurations: a traditional laptop with a keyboard that lies flat; and a tablet that lies flat, stands

vertically or “pops-up” like a tent. Users generally achieve these configurations by folding the

device’s screen upon its hinge.3

          40.       Indeed, Lenovo often advertises Yoga devices by displaying them folded along

their hinges in various configurations4:




          41.       According to Lenovo, Yoga devices, including Class Devices, can be reconfigured

in this fashion because they are “[d]esigned with a special hinge that allows the screen to fold

backwards into a tablet mode[.]”5 Lenovo further touts that “[e]very Yoga 2 in 1 laptop is crafted

with a highly durable hinge that allows you to transition seamlessly between a laptop, tent, stand,




3
  See https://www.lenovo.com/us/en/yoga/products/ (last accessed on 4/7/2020).
4
  See https://www.lenovo.com/us/en/laptops/yoga/700-series/Lenovo-YOGA-710-
15IKB/p/88YG7000772 (last accessed on 4/7/2020).
5
  Id.

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or tablet[,]”6 and that its “unique hinge …. allows the screen to flip around 360 degrees” without

issue.7

          42.       Lenovo markets Yoga devices, including Class Devices, by focusing on this

purportedly unique trait—for example, by folding the devices along both hinges—in order to

demonstrate the flexibility and stability of Yoga devices and distinguish its products from those of

its competitors.

          43.       Consequently, the flexibility and durability of the dual-hinge system Lenovo uses

in Class Devices is central to product functionality, and material to consumers when deciding

whether to purchase a Class Device or a traditional laptop or tablet from one of Lenovo’s

competitors.

B.        The Defect

          44.       The hinges used in the Class Devices, however, are defective. Specifically, the

Defect causes the hinges to separate from the device, ultimately (1) damaging visual displays, (2)

cracking screens, (3) impeding device owners from transitioning the configuration of Class

Devices, and/or (4) prohibiting owners from closing and transporting Class Devices for fear of

completely breaking them.

          45.       To connect the display and the base of the laptop, Class Devices utilize hinges.

Lenovo assembles the hinges into all Class Devices in the exact same manner: the hinges are

installed into the display portion of the laptop and secured with an adhesive, and then are secured

into the base of the laptop with screws. An exemplar picture of the dual-hinge system used in

Class Devices is below:



6
 Id. (emphasis added).
7
 See https://www.lenovo.com/us/en/laptops/yoga/700-series/Lenovo-YOGA-710-
15IKB/p/88YG7000772 (last accessed on 4/7/2020).

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          46.       The hinges on the Class Devices are used to open and close the device and should

be able to withstand normal and foreseeable use. Lenovo, in fact, claims the two-hinge system

should last at least 25,000 open-close cycles, which equates to approximately 8 to 10 years.

          47.       The adhesive intended to affix the hinge assembly to the display fails at a rapid rate,

however, which causes the hinge to separate from the lid and inhibits its ability to keep the screen

anchored to the laptop body.

          48.       In addition, when the adhesive fails and the hinge detaches, the hinge plate is able

to move between the Device’s screen and the surrounding lid. As shown in the picture above, the

hinge is surrounded by a number of delicate display wires that are critical to the functionality of

the Devices’ screens, and thus the Devices themselves. An unsecured hinge is free to damage or

impinge these display wires.




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          49.       The Defect thus sometimes firsts manifests as “screen flickering,” as the detached

hinge comes into contact with surrounding wires, though consumers typically have no reason to

think that a loose hinge may have damaged their display.

          50.       A detached hinge also tends to damage the underside of the Device’s display and

create pressure against the glass, causing the screen and surrounding plastic to shatter, damaging

internal components such as the camera and rendering further use of the laptop not only impossible,

but dangerous as well.

          51.       More importantly, once the hinge has separated, Plaintiffs and Class members lose

access to their Device’s defining feature: the ability to transport their device and “seamlessly”

transition it between its four possible configurations.

          52.       Unfortunately for Plaintiffs and Class members, they could not have readily

discovered the true extent and nature of the Defect until after it manifested in their Class Devices.

Lenovo, however, has long known of the Defect while concealing its existence from its customers.

C.        Lenovo’s Longstanding Knowledge of the Defect

          53.       On information and belief, Lenovo learned of the Defect well before Plaintiffs and

Class Members purchased their Class Devices through sources such as pre-release evaluation and

testing, repair data, replacement data, early consumer complaints made directly to Lenovo and/or

posted on a public online forum, and other internal sources unavailable to Plaintiffs prior to

discovery.

          1.        Lenovo’s Knowledge of the Defect Gained from Pre-Release Design,
                    Manufacturing, Engineering, and Testing Data

          54.       During the pre-release process of designing, manufacturing, engineering, and

testing the Class Devices, Lenovo gained comprehensive and exclusive knowledge about the Class

Devices and their hinge design, particularly the basic engineering principles behind the



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construction and function of the Class Devices and the expected conditions and uses to which users

would subject Class Devices in ordinary and foreseeable use and conditions.

          55.       An adequate pre-release analysis of the design, engineering, testing, and production

of Class Devices did reveal, or should have revealed, to Lenovo that the dual-hinge system used

in Class Devices is defective and likely to prematurely failing in the normal course of use.

          56.       In fact, since as far back as 2012 Lenovo has claimed that it subjects Yoga hinges

to durability testing designed to ensure the hinges last at least 25,000 cycles of being opened and

closed without failure, which Lenovo intended to replicate eight to ten years of normal use.




          57.       Lenovo routinely references this durability testing when responding to customer

complaints, including complaints concerning the Defect in Class Devices, in order to persuade

Class members that the Defect does not exist:




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          58.       As a result, Lenovo knew or should have known that Class Devices suffer from the

Defect and are prone to premature failure.

          2.        Lenovo’s Knowledge of the Defect from Previous Yoga Models that Utilized
                    an Identical Hinge Design

          59.       Lenovo also knew or should have known about the Defect because the two-hinge

design Lenovo uses in Class Devices is, in terms of design, form, assembly and function, identical

to the similarly defective two-hinge system Lenovo used in its Yoga, Yoga 2, and Yoga 3 models.

Attached hereto as Exhibit A are pictures of the hinges used in both those devices and Class

Devices.

          60.       Indeed, Lenovo’s own forums (which, as demonstrated below, Lenovo regularly

monitors for customer complaints in order to respond thereto), are replete with complaints related

to hinge failure—and the attendant risk of screen cracking—in Yoga, Yoga 2 and Yoga 3 2-in-1

devices.

          61.       Only a smattering of the complaints pertaining to those models is transcribed below.

However, these exemplar complaints, each of which predates Lenovo’s release of Class Devices

and Plaintiffs’ purchase thereof, demonstrates that Lenovo has long been aware of the Defect

plaguing the dual-hinge system central to the functionality of Class Devices:

          I'm having a similar problem with my Yoga 2 (13 inch). The left-hand corner hinge
          suddenly warped and broke with no extra stress or dropping or anything similar.
          Then the top lid started to detach from back of the screen. The computer is only
          about a year old and has spent several months in storage because another repair


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          wasnt completed in time for me to take it on an overseas assignment. I will try
          tightening the small screws if I can find a screwdriver small enough. Has anyone
          found a way to reattach the lid to the back of the screen so that it doesnt fall off?8

          I love the device, it's got a great feel to it, it feels like a real personal laptop/tablet.
          But my experience is being destroyed by 2 things: firstly, the upper left hand corner
          hinge became loose and the screw ended up falling, I can't open the laptop without
          it cracking at some point. The second part is that I cannot for the life of me, get a
          hold of anyone at the Lenovo call center to help me out. 9

          I bought my yoga 3 pro not too long ago, I love it and everything except when it
          comes to one part. Whenever I adjust the screen, either push it backwards or pull it
          forward it makes this weird cracking sound around the hinge, it's not the rattling
          sound but some weird cracking.10

          62.       Due to the identical design, and nature of the complaints concerning premature and

unexpected failure, of the dual-hinge system in predecessor Yoga models, Lenovo knew or should

have known of the Defect prior to placing Class Devices into the stream of commerce.

          3.        Lenovo’s Knowledge of the Defect from Repair Data

          63.       Lenovo also knew or should have known about the Defect because of the large

number of claims for Defect repairs and part replacements made during the Class Devices’

warranty periods.

          64.       Consumers complain that the Defect causes the hinge to fail, ultimately causing

their Class Devices to break down and the screens to crack.

          65.       On information and belief, Lenovo, like all computer manufacturers, communicates

with its distributors in order to identify pervasive defects, root causes, and potential repairs.

Lenovo collects and analyzes field data, including but not limited to, repair requests made at



8
  Posted by jmacade on 4/8/2016 (https://forums.lenovo.com/t5/Idea-Windows-based-Tablets-
and/Yoga-disintegrates-when-case-screws-loosen-an-analysis-and-how/td-p/1639696).
9
  Posted by eljefe17 on 3/3/2013 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-13-hinge-issue/td-p/1048731).
10
   Posted by FJheals on 1/22/2015 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-3-Pro-Hinge-cracking-sound/m-p/1861206?page=1#1862430).

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distributors, technical reports prepared by engineers that have reviewed Class Devices for which

warranty coverage is requested, parts sales reports, and warranty claims data, in order to determine

whether a defect exists and should be covered under warranty or through a goodwill program.

          66.       Indeed, numerous Class members complain of having to send their Devices into

Lenovo for repair under the warranty due to the Defect only for their Devices to fail again shortly

thereafter:

          Hello everyone, I’m reading that others have this problem and it has resulted in a
          broken screen. The left side of the right hinge on my yoga is not connected like it
          is on the other hinge. Is this a defect or part of the design? I contacted Lenovo to
          see if I could get a replacement before my screen shatters but they said that I can
          only repair it. Unfortunately I need a laptop everyday for school and work so I cant
          afford to wait 10 business days for it to be repaired.11

          67.       Due to Lenovo’s efforts to monitor defect trends and the sheer number of repairs

and warranty requests made in connection with the Defect, Lenovo knew or should have known

of the Defect.

          4.        Lenovo’s Knowledge of the Defect from Class Member Complaints Made
                    Directly to Lenovo

          68.       Lenovo also knew or should have known about the Defect because hundreds, if not

thousands, of consumers complained about the Defect directly to Lenovo. The large number of

complaints, and the consistency of their descriptions of the Defect in the Class Devices, should

have alerted or actually alerted Lenovo to this serious Defect affected a wide range of its portable

computers/tablets.

          69.       The full universe of complaints made directly to Lenovo about the Defect is

information presently in the exclusive custody and control of Lenovo and is not yet available to

Plaintiffs prior to discovery. On information and belief, however, many Class Devices owners


11
 Posted by JC91 on 5/17/2019 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-730-Broken-Hinge/m-p/4431922).

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complained directly to Lenovo about the Defect and the issues it caused. For example, some

instances of these direct-to-Lenovo complaints were posted online on Lenovo’s own website

forums, and responded to by Lenovo customer service12:




           70.      Despite Lenovo’s agent’s assertions that the hinge issue was not a “known issue,”

numerous other consumers posted similar complaints on Lenovo’s message board:

           I was using my laptop this morning like usual, closed it, then went to open it a
           minute later and the screen started to separate at the bottom left, cracking as I went
           to open it. I contacted support and they're sending me a box this week. Has anyone
           ever experienced this before and what was the remedy? I haven't dropped it at all
           and have no idea why it separated.13

12
 Posted by Arjay_Lenovo on 10/18/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Broken-730-hinge-broken-screen/td-p/4241112).
13
     Posted by Kchudoba23 on 3/18/2017 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/Yoga-710-

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          Can anyone help. My new’ish Lenovo 710 screen has cracked at the hinge. There
          are several posts from other people with similar issues. We all maintain this is a
          design fault – I certainly have not dropped/damaged mine and it appeared when I
          opened my laptop. But you get no help from support who tell you it is your fault if
          its cracked. How do get Lenovo to admit this is bad design and support their clients
          by replacing screens? Any suggestions please – its like hitting your head against a
          brick wall.14

          The same thing just happened to my 710 purchased 18 months ago so out of
          warranty …. The disappointing part is definitely the lack of accountability from
          Lenovo. I have used HP, ASUS, and IBM laptops in the past and thought Lenovo
          would have continued the IBM tradition of building workhorse laptops. I guess not.
          Never again.15

          Hi – my daughter has just had this issue with the screen on her Yoga 710,cracking
          diagonally from the top left hand to bottom right hand corner, adjacent to the hinge.
          …. From this thread it seems like the fault is fairly common which suggests a design
          flaw.16

          Yoga 710: Screen separating in the bottom right hand corner. I’ll attach a pic, but
          it is hard to see. Just today, I heard a pop as I opened my Yoga. Seems the the
          bottom left hand corner of the screen has separated from its “backing” (not exactly
          sure how to describe this.) I did see a report of something that was vaguely familiar
          with a different machine and someone mentioned it could be a bad hinge. I can flex
          it all the way back to tablet mode. The screen flexes up the entire way (so I’m not
          doing that again).When I bend the opposite direction (toward closed) the aluminum
          casing separates from the small plastic tab with the rubber foot.17

          Hi, so just now the right hinge on my Yoga 720 popped out of alignment. Is there
          any way to put it back in?18




screen-cracked-from-opening-it/td-p/3610525)
14
   Posted by MBHE on 2/2/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/YOGA-710-screen-cracking-no-support-from-Lenovo/td-p/3965747).
15
   Posted by jdallas87 on 2/1/2020 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-700-710-720-900-broken-hinge-cracked-screen-glass/m-
p/4264992?page=2).
16
   Posted by MyVeeTwin on 8/3/2017 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-710-screen-cracked-from-opening-it/td-p/3610525).
17
   Posted by krmartel on 4/13/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-710-Screen-separating-in-bottom-right-hand-corner/td-p/4042656).
18
   Posted by Rabbidy on 12/5/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-720-15-quot-hinge-popped-out-of-place/m-p/4291728).

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          Hi, I got my second Yoga 720 13” (i5, 256GB SSD, 8GB Ram, Iron Grey) today
          and the left hinge was broken again… yes the first YOGA got the same broken
          hinge on the left side. Does have anybody the same issue?19

          Hi, Recently I got a new Lenovo yoga 720 15”. While using suddenly a sound came
          from the right hinge of the laptop and it started showing some movements about a
          mm (just the screen moves up and down about a mm or two), and the small cover
          besides Hinge just pops from a side.20

          I’ve posted the exact same crack on another thread. Only a 5 day old laptop which
          I didn’t even started to use regularly. In fact every Lenovo service center
          worldwide, if they see a crack originating from the hinge should immediately
          replace the unit without asking …. No laptop should be designed in a way that a
          defective, loose or broken hinge will immediately ruin the display.21

          I bought a new computer mainly to use at work so I don’t really use it that often…I
          think I’ve had it for 4 months and I have about 35 charge cycles accumulated.
          Yesterday I noticed that there are these little hairline cracks developing on the
          hinges…22

          One day when you’ve opened or closed the lid as you would with normal use, you
          here a pop and notice that the screen has separated from the lid body in one of the
          corners near the hinge …. If you choose to do nothing, this problem will only get
          worse and, eventually, the screen will crack ….Given that Lenovo designed this
          hinge and choose the materials and methods to assemble it, you would think that it
          would take the responsibility for failing to last passed warranty. Unfortunately, no
          such luck. When you call support, you get nothing but denial and blame for
          mishandling their state-of-the-art product and causing it to fail.23

          I have the same problem for my yoga 720. The hinge just broke through the screen
          one day when I opened the lid. I’ve only used it for 1.5 years.24

          I am so disappointed to find these experiences since I just realized my beloved right
          hinge has separated after only a short time using the 720. I thought I was buying a

19
   Posted by iDaniel on 6/22/2017 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-720-13-quot-Hinge-problem/td-p/3715295).
20
   Posted by Himanshu161 on 10/2/2017 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-720-13-quot-Hinge-problem/td-p/3715295).
21
   Posted by HassanMir on 10/21/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Broken-730-hinge-broken-screen/td-p/4241112).
22
   Posted by dcombs04 on 1/22/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-730-hinge-cracking/m-p/4338428?page=1#4338428).
23
   Posted by WiredDan on 10/11/2019 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-700-710-720-900-broken-hinge-cracked-screen-glass/m-p/4264992).
24
   Posted by insy747 on 5/29/2019 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-700-710-720-900-broken-hinge-cracked-screen-glass/m-p/4264992).

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          solid machine and am very upset to hear Lenovo will not assist or take
          responsibility for an obvious design flaw.25

          We bought a Yoga 730 in August for my 7th grader. She was using it as a tablet and
          one side of the right hinge popped off. She made the mistake of trying to close it.
          Hinge binds up and cracks screen. Lenovo support says tough luck.26

          I just discovered tonight with certain lighting behind my laptop a missing piece in
          the right hinge on my Lenovo Yoga 730. I haven’t even had the laptop for an entire
          month and I certainly have not dropped it or mishandled it- which means that the
          hinges weren’t a priority in the design of this 2 in 1.27

          Exact same problem here. The screen get separated from the left bottom corner.
          Bought 2 years ago with normal use.28

          I purchased Lenovo Yoga 720’s for my college student daughter and for myself.
          The hinges have broken on both after a year and two years, respectively. My
          daughter had hers repaired by a local computer tech to the tune of $200. I plan to
          repair my unit myself.29

          Wow! This first repair post was put up in 2015 and the Yoga that I bought this year
          2019 did the same thing and cracked the screen. You would think that after 4 years
          someone at Lenovo would be looking for a different adhesive or consistent
          manufacturing practices. I sent my cracked screen unit in for warranty repair. After
          1 month of having it there is no indication what is happening to it and no one at
          Lenovo CS can tell me anything. I am typing this on my 7 year old Toshiba…30




25
   Posted by Desmarais on 9/7/2019 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-700-710-720-900-broken-hinge-cracked-screen-glass/m-p/4264992).
26
   Posted by SEG4 on 9/15/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-730-Broken-Hinge/m-p/4206592).
27
   Posted by megwormo on 9/18/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-730-Broken-Hinge/m-p/4206592).
28
   Posted by Sunny43 on 10/3/2019 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-700-710-720-900-broken-hinge-cracked-screen-glass/m-
p/4264992?page=2).
29
   Posted by angkor on 12/3/2019 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-700-710-720-900-broken-hinge-cracked-screen-glass/m-
p/4264992?page=2).
30
   Posted by Grumpy0077 on 12/4/2019 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Lenovo-Yoga-700-710-720-900-broken-hinge-cracked-screen-glass/m-
p/4264992?page=2).

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          71.       As the above sampling of complaints shows, Class Members have been vocal in

complaining directly to Lenovo about the Defect, and the number and consistency of their

complaints alerted Lenovo to the Defect’s existence.

          5.        Lenovo’s Knowledge of the Defect from Class Member Complaints on Third-
                    Party Websites

          72.       In addition to complaints made directly to Lenovo, consumers not only made

complaints on third-party websites, but YouTube videos and DIY tutorial websites were made to

help consumers attempt to fix the Defect themselves.

          73.        On reddit.com, for example, owners of Class Devices voiced similar complaints

about the Defect:

          So it seems this is not an uncommon issue with the Lenovo yogas. The screen
          popped out of the bottom right corner of my laptop. Then when I went to open/close
          my laptop the screen cracked as the hinge punctured it (I didn’t realize part of it
          was detached). Apparently Lenovo considered the screen damage accidental and
          won’t cover this, and it’ll cost $300. There is no way I’m paying this since the
          laptop cost $500, and I know I didn’t drop or damage the laptop directly. I’m
          considering paying for it with a credit card and then just disputing it. There are a
          ton of forums with this same hinge issue, which should help.31

          Anyone have any experience with a broken hinge on a y700 that led to a broken
          screen? And if so, or even if not, does anyone have a ballpark figure that I would
          be looking at for a replacement screen (touch version) and a new hinge/hinge
          hardware? Thing was taken care of pretty well but hinges started to sound a little
          weird over time... then one day after hinges (which I could tell were slightly broken
          but still very functional) were not moving very well and upon opening the screen
          cracked at the bottom and the crack spider webbed upwards. Really annoying but
          if I can fix for like 400 or less I'd rather keep this machine than buy a new one.32




31
   Posted by u/f0rzablu
(https://www.reddit.com/r/Lenovo/comments/aq9fxk/lenovo_yoga_broken_hinge_and_cracked_
screen_from/).
32
   Posted by DB333333
(https://www.reddit.com/r/Lenovo/comments/6p8oc5/y700_hinges_broken_and_screen_cracked/
).

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          i have the same problem as you my screws broke off because the cheap plastic
          lenovo put in them still haven't found a way to replace it but if you do please contact
          me i would like to also keep this laptop that i almost paid 800 for.33

          74.       As this small sampling of complaints shows, consumers have been vocal in

complaining about the Defect and the issues it causes, and Lenovo has long been aware of their

concerns. As the screenshots below reflect, Lenovo actively monitors third-party sites in order to

track customer complaints thus knew of the Defect:




          75.       Instead of recalling all Class Devices, Lenovo simply told consumers that the Class

Devices were built correctly, and the consumers themselves are the problem, often denying

warranty coverage on such claims:34



33
   Posted by vincentgrimes726
(https://www.reddit.com/r/Lenovo/comments/6p8oc5/y700_hinges_broken_and_screen_cracked/
).
34
   Posted by brwolt on 5/23/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-710-broken-hinge/m-p/4086743); posted by JPierson on 4/2/2019
(https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/Yoga-730-hinge-cracking/m-
p/4338428?page=1#4338428); posted by GBMun on 2/14/2019
(https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/Re-YOGA-730-Cracked-
Screen/td-p/4359590).

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          76.       Moreover, the large number and consistency of complaints describing the Defect

underscores the fact that Class members considered the Defect to be an issue material to the

reasonable consumer.

          6.        Lenovo’s Redesign of the Hinges on its Premium Laptop Models

          77.       In addition to its knowledge of the Defect from testing and complaints, Lenovo’s

re-design of its premium 2-in-1 models indicate it knows the dual-hinge system suffers from the

Defect.

          78.       While it equipped its Yoga 700-series models with a dual-hinge design, Lenovo

equipped its “premium” laptop series—the Yoga 900 series—with a watchband hinge.35

          79.       Indeed, Lenovo advertised its Yoga 900 series by highlighting the “flexible

watchband hinge.”36

          80.       In 2018, Lenovo once again redesigned the hinges on its premium Yoga 900 series

models, equipping them with a new speaker-hinge design.37

          81.       On information and belief, Lenovo deployed an alternative hinge design in its

premium 900 series because it knew its customers would not tolerate spending upwards of $2,000

for a 2-in-1 device likely to fail shortly after purchase.

          82.       The two redesigns of Lenovo’s premium laptops demonstrate that Lenovo knew

that the dual-hinge system it equipped in Class Devices is defective and unsuited for its intended

purpose.




35
   See https://www.lenovo.com/us/en/laptops/yoga/yoga-900-series/c/yoga-900-series (last
accessed April 16, 2020).
36
   See https://www.youtube.com/watch?v=62_xLp3ZiSs (last accessed April 16, 2020).
37
   See Lenovo’s Slickest 2in1 Ditches Its Famous Hinge For Two Hidden Tricks, at
https://gizmodo.com/lenovos-slickest-2-in-1-ditches-its-famous-hinge-for-tw-1828704537.

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D.        Lenovo’s Warranty Practices

          83.       Lenovo’s unconscionable warranty practices make matters worse.

          84.       Lenovo’s express limited warranty provides coverage for only one year, and

Lenovo expressly warrants “that each Lenovo hardware product that [a consumer purchases] is

free from defects in materials and workmanship under normal use” within one year of purchase.38

          85.       Lenovo also purports to limit warranty relief to product replacement or repair, and

only when Lenovo determines that either is impossible, refund of the purchase price to the

consumer.

          86.       When consumers seek relief pursuant to the warranty, however, Lenovo merely

offers to repair Devices using similarly defective dual-hinge systems that fail to remedy the

underlying Defect. Thus, not only are Lenovo’s claims of a “highly durable hinge that allows [the

consumer] to transition seamlessly between a laptop, tent, stand, or tablet” patently false, its

warranty also fails of its essential purpose.

          87.       This is evidenced by consumer complaints concerning ineffective repairs39:




38
 See https://download.lenovo.com/pccbbs/thinkcentre_pdf/l505-0010-02_en_update.pdf.
39
 Posted by megwormo on 10/26/2018 (https://forums.lenovo.com/t5/Lenovo-Yoga-Series-
Notebooks/Yoga-730-Broken-Hinge/m-p/4206592?page=3).

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          88.       Lenovo also attempts to classify the problems caused by the Defect as those caused

by “misuse,” so as to avoid responsibility and the costs associated with honoring their express

warranty.40

          89.       These and any other limitations Lenovo seeks to impose on its various express

warranties, including those arising by affirmation, are unconscionable and unenforceable.

          90.       In its capacity as a warrantor, Lenovo’s knowledge of the Defect in the Class

Devices renders its efforts to limit the duration of express and implied warranties in a manner that

would exclude warranty coverage unconscionable, and any such effort to disclaim, or otherwise

limit, its express and implied warranties is null and void. The limitations on the warranties are

procedurally unconscionable. There was unequal bargaining power between Lenovo and Plaintiffs

and the other Class members, as, at the time of purchase, Plaintiffs and the other Class members

had no other options for negotiating the terms thereof.

          91.       The limitations on the warranties also are substantively unconscionable. Lenovo

knew (and knows) that the Class Devices are defective and incapable of performing as advertised.

Lenovo failed to disclose these defects to Plaintiffs and the other Class members while continuing

to market misrepresent the performance properties of Class Devices; thus, Defendant’s

enforcement of the limitations on its warranties is harsh and shocks the conscience.

          92.       Lenovo’s fraudulent, deceptive, and unfair practices have caused, and continue to

cause, Plaintiffs and Class members significant out-of-pocket losses in the amount of the prices

paid for these defective Devices, as well as their shipping and handling fees Lenovo requires

consumers to pay in order to send their Devices via mail to be repaired.




40
     Supra at 21-22.

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                                        CLASS ALLEGATIONS

          93.       Plaintiffs bring this action on their own behalf, and on behalf of a nationwide class

pursuant to Federal Rules of Civil Procedure, Rule 23(a), 23(b)(2), and/or 23(b)(3).

                    Nationwide Class:
                    All persons or entities in the United States who are current or
                    former owners of Lenovo Yoga 700-series devices equipped with a
                    dual-hinge system (“Class Devices”).

          94.       In the alternative to the Nationwide Class, and pursuant to Federal Rule of Civil

Procedure, Rule 23(c)(5), Plaintiffs seek to represent the following state classes only in the event

that the Court declines to certify the Nationwide Class above. Specifically, the State Classes

consist of each of the following:

                    Maryland Class:
                    All persons or entities in Maryland who are current or former owners
                    of Lenovo Yoga 700-series devices equipped with a dual-hinge
                    system (“Class Devices”).

                    Missouri Class:
                    All persons or entities in Missouri who are current or former owners
                    of Lenovo Yoga 700-series devices equipped with a dual-hinge
                    system (“Class Devices”).

          95.       The Maryland Class and the Missouri Class shall be collectively referred to herein

as the “State Classes.”

          96.       The Nationwide Class and other State Classes shall be collectively referred to

herein as the “Class.” Excluded from the Class is Lenovo, its affiliates, employees, officers and

directors, and the Judge(s) assigned to this case. Plaintiffs reserve the right to modify, change, or

expand the various class definitions set forth above based on discovery and further investigation.

          97.       Numerosity: Upon information and belief, the Class is so numerous that joinder of

all members is impracticable. While the exact number and identities of individual members of the

Class are unknown at this time, such information being in the sole possession of Lenovo and

obtainable by Plaintiffs only through the discovery process, Plaintiffs believe, and on that basis


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allege, that hundreds of thousands to millions of Class Devices have been sold in each of the States

that are the subject of the Class.

          98.       Existence and Predominance of Common Questions of Fact and Law: Common

questions of law and fact exist as to all members of the Class. These questions predominate over

the questions affecting individual Class members. These common legal and factual questions

include, without limitation:

                a. Whether Class Devices suffer from a Defect that predisposes their hinges to
                   premature and unexpected failure;
                b. Whether the Defect causes, inter alia, screens and other Device components
                   to fail;
                c. Whether Lenovo learned of the Defect before placing Class Devices into
                   the stream of commerce and, if so, when;

                d. Whether the Defect’s existence would have been material to a reasonable
                   consumer;
                e. Whether Lenovo made false representations about the nature and
                   performance of the Class Devices; and
                f. Whether Lenovo had a duty to disclose the Defect to the Class, at the point
                   of sale or otherwise, and failed to do so;

                g. Whether the Defect renders Class Devices unsuited for their ordinary and
                   intended purpose;

                h. Whether Lenovo’s warranty limitations are unconscionable;

                i. Whether Lenovo’s repair-or-replace warranty fails of its essential purpose;

                j. Whether Lenovo breached its express warranties by selling defective Class
                   Devices; and

                k. Whether Lenovo was unjustly enriched.

          99.       Typicality: Plaintiffs’ claims are typical of the claims of the Class. Each Plaintiff

purchased a Class Device that suffers from the Defect, as did each member of the Class.

Furthermore, Plaintiffs and the Class sustained monetary and economic injuries including, but not

limited to, ascertainable losses arising out of Lenovo’s wrongful conduct. Plaintiffs are advancing

the same claims and legal theories on behalf of themselves and all absent Class members.


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          100.      Adequacy: Plaintiffs are adequate representatives because their interests do not

conflict with the interests of the Class, they have retained counsel competent and highly

experienced in complex class action litigation, including consumer litigation, and they intend to

prosecute this action vigorously. The interests of the Class will be fairly and adequately protected

by Plaintiffs and their counsel.

          101.      Superiority: A class action is superior to all other available means of fair and

efficient adjudication of the claims of Plaintiffs and members of the Class. The injury suffered by

each individual Class member is relatively small in comparison to the burden and expense of

individual prosecution of the complex and extensive litigation necessitated by Lenovo’s conduct.

It would be virtually impossible for members of the Class individually to redress effectively the

wrongs done to them. Even if the members of the Class could afford such individual litigation, the

court system could not. Individualized litigation presents a potential for inconsistent or

contradictory judgments. Individualized litigation increases the delay and expense to all parties,

and to the court system, presented by the complex legal and factual issues of the case. By contrast,

the class action device presents far fewer management difficulties, and provides the benefits of

single adjudication, an economy of scale, and comprehensive supervision by a single court. Upon

information and belief, members of the Class can be readily identified and notified based on, inter

alia, Lenovo’s sales records and database of complaints.

          102.      Lenovo has acted, and refused to act, on grounds generally applicable to the Class,

thereby making appropriate final equitable relief with respect to the Class as a whole.




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                                         CAUSES OF ACTION

                                FIRST CAUSE OF ACTION
                   VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                             (On Behalf of the Nationwide Class)

          103.      Plaintiffs and the Class incorporate by reference each preceding and succeeding

paragraph as though fully set forth herein.

          104.      Congress enacted the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et seq., in

response to widespread consumer complaints regarding misleading and deceptive warranties. The

Act imposes civil liability on any “warrantor” for failing to comply with any obligation under

written and implied warranties. 15 U.S.C. § 2310(d)(1).

          105.      The Class Devices are a “consumer product,” as defined by § 2301(1).

          106.      Plaintiffs, the Nationwide Class, and the State Class members are “consumers” as

defined by § 2301(3).

          107.      Lenovo is a “warrantor” and “supplier” as defined by §§ 2301(4) and (5).

          108.      Lenovo expressly warrants that it will remedy defects in materials and/or

workmanship in Class Devices that manifest within one year of purchase.41

          109.      Lenovo also expressly limits warranty relief to product replacement or repair, and

only when Lenovo determines that either is impossible, refund of the purchase price to the

consumer.

          110.      Lenovo has refused to remedy the Defect when Class Devices are presented for

repair within an applicable warranty period because it repairs Devices using similarly defective

replacement components, or asserts that Devices failed due to customer abuse and, thus, do not




41
     See https://download.lenovo.com/pccbbs/thinkcentre_pdf/l505-0010-02_en_update.pdf.

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qualify for warranty coverage. Lenovo’s repair-or-replace warranty thus fails of its essential

purpose.

          111.      Lenovo also routinely refuses to repair the Defect in Class Devices when presented

for repair just outside the warranty period on grounds that the devices fall outside the limited

warranty’s durational limits.

          112.      Lenovo’s knowledge and notice of the Defect prior to sale render its warranty

limitations substantively unconscionable.

          113.      Lenovo’s warranties also are procedurally unconscionable because there was

unequal bargaining power between Lenovo and Plaintiffs and the other Class members, as, at the

time of purchase, Plaintiffs and the other Class members had no other options for negotiating the

terms thereof.

          114.      Lenovo’s warranty remedial and durational warranty limitations thus are

unconscionable and fail of their essential purpose, and are unenforceable.

          115.      Plaintiffs seek to recover damages resulting directly from Lenovo’s breach of their

written and implied warranties, and their deceitful and unlawful conduct. Damages include costs

associated with repairing and replacing the Devices.

          116.      The Act also provides for “other legal and equitable” relief. 15 U.S.C. § 2310(d)(1).

Accordingly, Plaintiffs seek reformation of Lenovo’s written warranty to comport with Lenovo’s

obligations under the Act and with consumers’ reasonable expectations. Additionally, Plaintiffs

seek to enjoin Lenovo from acting unlawfully as further alleged, including discouraging Plaintiffs

to seek all available remedies.

          117.      The Act also provides for an award of costs and expenses, including attorneys’ fees,

to prevailing consumers in the Court’s discretion. 15 U.S.C. § 2310(d)(2). Plaintiffs intend to seek

such an award as prevailing consumers at the conclusion of this case.

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                                  SECOND CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY
                  (On Behalf of Nationwide Class or, alternatively, the State Classes)

          118.      Plaintiffs and the Class incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

          119.      Lenovo expressly warrants that it will remedy defects in materials and/or

workmanship in Class Devices that manifest within one year of purchase.42

          120.      Lenovo also expressly limits warranty relief to product replacement or repair, and

only when Lenovo determines that either is impossible, refund of the purchase price to the

consumer.

          121.      Lenovo, however, has refused to remedy the Defect when Class Devices are

presented for repair within an applicable warranty period because it repairs Devices using similarly

defective replacement components, or asserts that Devices failed due to customer abuse and, thus,

do not qualify for warranty coverage. Lenovo’s repair-or-replace warranty thus fails of its essential

purpose.

          122.      Lenovo also routinely refuses to repair the Defect in Class Devices when presented

for repair just outside the warranty period on grounds that the devices fall outside the limited

warranty’s durational limits.

          123.      Lenovo’s knowledge and notice of the Defect prior to sale render its warranty

limitations substantively unconscionable.

          124.      Lenovo’s warranties also are procedurally unconscionable because there was

unequal bargaining power between Lenovo and Plaintiffs and the other Class members, as, at the




42
     See https://download.lenovo.com/pccbbs/thinkcentre_pdf/l505-0010-02_en_update.pdf.

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time of purchase, Plaintiffs and the other Class members had no other options for negotiating the

terms thereof.

          125.      Lenovo’s warranty remedial and durational warranty limitations thus are

unconscionable and fail of their essential purpose, and are unenforceable.

          126.      Plaintiffs have complied with the warranty terms. Plaintiffs have made a demand

upon Lenovo to perform under the warranty terms, but Lenovo has failed to comply with those

terms.

          127.      As a direct and proximate result of the breach of express warranties, Plaintiffs have

suffered damages, injury in fact, and ascertainable loss in an amount to be determined at trial,

including repair and replacement costs and damages to other property.

                                    THIRD CAUSE OF ACTION
                               BREACH OF IMPLIED WARRANTY
                  (On Behalf of Nationwide Class or, alternatively, the State Classes)

          128.      Plaintiffs and the Class incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

          129.      Lenovo is in the business of manufacturing, designing, supplying, marketing,

advertising, warranting, and selling the Class Devices. Lenovo impliedly warranted to Plaintiffs

and the Class that the Class Devices were of a certain quality, free from defects, and fit for the

ordinary purpose of a 2-in-1 tablet/laptop.

          130.      But the Class Devices were unfit for ordinary use and were not of merchantable

quality as warranted by Lenovo in violation of U.C.C. § 2-314 because the Devices have a Defect

that (1) causes the hinge on the Class Devices to fail, move freely and ultimately crack Device

screens and fray internal visual display wires, and (2) prohibits owners from actually transitioning

Class Devices between tablet and laptop configurations.




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          131.      Before purchase, Plaintiffs and the Class could not have readily discovered that the

Devices were not merchantable, were not of the same quality as those generally acceptable in the

trade, and did not conform to the quality previously represented.

          132.      Lenovo has failed to provide adequate remedies under their limited warranties,

which have caused those warranties to fail of their essential purpose, thereby permitting remedies

under these implied warranties.

          133.      Lenovo has not sufficiently (meaning specifically and conspicuously) disclaimed

the implied warranty of merchantability.

          134.      The purported limitations in Lenovo’s warranties, including limiting the exclusive

remedy to a refund, repair, or replacement, as well as any durational limitations, are procedurally

and substantively unconscionable and thus fail under U.C.C. § 2-302. Lenovo knew or should have

known that the Devices are susceptible to premature failure, Lenovo had unequal bargaining power

and misrepresented the Devices’ reliability, and the limited remedies unreasonably favor Lenovo

and fail Plaintiffs’ (and the Class’) reasonable expectations for product performance.

          135.      Plaintiffs gave Lenovo actual or constructive notice of the breaches of these

warranties, and Lenovo has failed to cure these breaches.

          136.      As a direct and proximate result of the breaches of these implied warranties,

Plaintiffs and the Class have suffered damages, injury in fact and ascertainable loss in an amount

to be determined at trial, including repair and replacement costs and damages.

          137.      Plaintiffs demand judgment against Lenovo for compensatory damages for

themselves and each class member, for the establishment of a common fund, plus additional

remedies as this Court deems fit.




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                              FOURTH CAUSE OF ACTION
             VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT
                             Md. Comm. Code §§ 13-301, et seq.
                    (By Plaintiff Singh on Behalf of the Maryland Class)

          138.      Plaintiffs and the Class incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

          139.      Plaintiff Singh brings this claim on behalf of the Maryland Class against Lenovo.

          140.      Lenovo is a person as defined by Md. Comm. Code § 13-101(h).

          141.      Lenovo’s conduct as alleged herein related to “sales,” “offers for sale,” or

“bailment” as defined by Md. Comm. Code § 13-101(i) and § 13-303.

          142.      Maryland Class members are “consumers” as defined by Md. Comm. Code § 13-

101(c).

          143.      Lenovo advertises, offers, or sells “consumer goods or “consumer services” as

defined by Md. Comm. Code § 13-101(d).

          144.      Lenovo advertised, offered, or sold goods or services in Maryland and engaged in

trade or commerce directly or indirectly affecting the people of Maryland.

          145.      Lenovo engaged in unfair and deceptive trade practices, in violation of Md. Comm.

Code § 13-301, including:

               a. False or misleading oral or written representations that have the capacity, tendency,

               or effect of deceiving or misleading consumers;

               b. Representing that consumer goods or services have a characteristic that they do not

               have;

               c. Representing that consumer goods or services are of a particular standard, quality,

               or grade that they are not;

               d. Failing to state a material fact where the failure deceives or tends to deceive;



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               e. Advertising or offering consumer goods or services without intent to sell, lease, or

               rent them as advertised or offer; and

               f. Deception, fraud, false pretense, false premise, misrepresentation, or knowing

               concealment, suppression, or omission of any material fact with the intent that a

               consumer rely on the same in connection with the promotion or sale of consumer goods

               or services of the subsequent performance with respect to an agreement, sale, lease, or

               rental.

          146.      Lenovo engaged in these unfair and deceptive trade practices in connection with

offering for sale or selling consumer goods or services or with respect to the extension of consumer

credit, in violation of Md. Comm. Code § 13-303.

          147.      Lenovo’s representations and omissions were material because they were likely to

deceive reasonable consumers.

          148.      Lenovo intended to mislead Plaintiff Singh and the Maryland Class members and

induce them to rely on its misrepresentations and omissions.

          149.      Lenovo should have disclosed the Defect to Plaintiff Singh and the Class because

they were in a superior position to know the true facts related to the Defect, and Plaintiffs and

Class members could not reasonably be expected to learn or discover the true facts related to this

Defect.

          150.      Lenovo, by the conduct, statements, and omissions described above, also

knowingly and intentionally concealed from Plaintiffs and the Class members that Class Devices

suffer from the Defect (and the costs, safety risks, and diminished value of the laptops as a result

of this problem).

          151.      These acts and practices have deceived Plaintiff and are likely to deceive the public.

Lenovo, by the conduct, statements, and omissions described above, and by knowingly and

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intentionally concealing from Plaintiff and the Class members that the Class Devices suffer from

the Defect (and the costs, safety risks, and diminished value of the laptops as a result of this

problem), breached their duties to disclose these facts, violated the MCPA, and caused injuries to

Plaintiff and the Class members. The omissions and acts of concealment by Lenovo pertained to

information that was material to Plaintiff and Class members, as it would have been to all

reasonable consumers.

          152.      The injuries suffered by Plaintiff and the Class members are greatly outweighed by

any potential countervailing benefit to consumers or to competition, nor are they injuries that

Plaintiffs and the Class members should have reasonably avoided.

          153.      Lenovo’s conduct proximately caused injuries to Plaintiff and other Class

members. Had Plaintiff and the Class known about the defective nature of the Class Devices, they

would not have purchased the Class Devices, would have paid less for them or would have avoided

the extensive repair costs associated therewith.

          154.      Plaintiff Singh and the Maryland Class members seek all monetary and non-

monetary relief allowed by law, including damages, disgorgement, injunctive relief, and attorneys’

fees and costs.

                               FIFTH CAUSE OF ACTION
             VIOLATION OF THE MISSOURI MERCHANDISE PRACTICES ACT
                             Mo. Rev. Stat. §§ 407.010, et seq.
                     (By Plaintiff Cox on Behalf of the Missouri Class)

          155.      Plaintiffs and the Class incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

          156.      Plaintiff Cox brings this claim on behalf of the Missouri Class against Lenovo.

          157.      Lenovo is a “person” as defined by Mo. Rev. Stat. § 407.010(5).




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          158.      Lenovo advertised, offered, or sold goods or services in Missouri and engaged in

trade or commerce directly or indirectly affecting the people of Missouri, as defined by Mo. Rev.

Stat. § 407.010(4), (6), and (7).

          159.      Plaintiff Cox and the Missouri Class members purchased or leased goods or

services primarily for personal, family, or household purposes.

          160.      Lenovo engaged in unlawful, unfair, and deceptive acts and practices, in connection

with the sale or advertisement of merchandise in trade or commerce, in violation of Mo. Rev. Stat.

§ 407.020(1), as described herein.

          161.      Lenovo’s representations and omissions were material because they were likely to

deceive reasonable consumers.

          162.      Lenovo intended to mislead Plaintiff Cox and the Missouri Class members and

induce them to rely on its misrepresentations and omissions.

          163.      Lenovo acted intentionally, knowingly, maliciously to violate Missouri’s

Merchandise Practices Act, and recklessly disregard Plaintiff Cox and the Missouri Class

members’ rights. Lenovo’s knowledge of the Defect in the Class Devices, along with the countless

complaints made by consumers about the Defect, put Lenovo on notice that the Class Devices

were not as it advertised.

          164.      As a direct and proximate result of Lenovo’s unlawful, unfair, and deceptive acts

and practices, Plaintiff Cox and the Missouri Class members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing the Class Devices, and

increased time and expense in dealing with the Defect.




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          165.      Plaintiff Cox and the Missouri Class members seek all monetary and non-monetary

relief allowed by law, including actual damages, punitive damages, attorneys’ fees and costs,

injunctive relief, and any other appropriate relief.

                                   SIXTH CAUSE OF ACTION
                                     UNJUST ENRICHMENT
               (On Behalf of the Nationwide Class or, alternatively, the State Classes)

          166.      Plaintiffs and the Class incorporate by reference each preceding and succeeding

paragraph as though fully set forth herein.

          167.      Plaintiffs bring this cause of action on behalf of themselves and a class of similarly

situated persons against Lenovo.

          168.      Plaintiff and the Class conferred a benefit on Lenovo by purchasing the Class

Devices.

          169.      Lenovo had knowledge that this benefit was conferred upon it.

          170.      Lenovo has been unjustly enriched at the expense of Plaintiffs and the Class, and

its retention of this benefit under the circumstances would be inequitable.

          171.      Plaintiffs, on behalf of themselves and all others similarly situated, demand

judgment against Lenovo for damages and declaratory relief.

                                  SEVENTH CAUSE OF ACTION
                        FRAUDULENT OMISSION OR CONCEALMENT
                  (On Behalf of Nationwide Class or, alternatively, the State Classes)

          172.      Plaintiffs and the Class incorporate by reference each preceding and succeeding

paragraph as though fully set forth herein.

          173.      Plaintiffs bring this cause of action on behalf of themselves and a class of similarly

situated persons against Lenovo.

          174.      At all relevant times, Lenovo was engaged in the business of designing,

manufacturing, distributing, and selling the Class Devices.

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          175.      Lenovo, acting through its representatives or agents, delivered Class Devices to its

distributors and various other distribution channels.

          176.      Lenovo willfully, falsely, and knowingly omitted various material facts regarding

the quality and character of the Class Devices.

          177.      Rather than disclose the Defect to Plaintiffs and other prospective purchasers of

Class Devices, Lenovo concealed the Defect.

          178.      Lenovo omitted and concealed this material information to drive up sales and

maintain its market power, as consumers would not purchase Class Devices, or would pay

substantially less for them, had they known the truth.

          179.      Plaintiffs and Class members could not have discovered the Defect prior to it

manifesting in their Class Devices.

          180.      Lenovo was in exclusive possession of information concerning the Defect’s

existence, which would have been material to reasonable consumers, and thus was obligated to

disclose the Defect to Plaintiffs and Class members, at the point of sale or otherwise.

          181.      Although Lenovo had a duty to disclose the Defect to consumers, it failed to do so.

          182.      Plaintiffs and Class members sustained injury at the time they purchased Class

Devices that suffer from the Defect, which Defendant failed to disclose and actively concealed

from them. Had Plaintiffs and the Class known about the Defect at the time of purchase, they

would have paid substantially less for their Class Devices, or would not have purchased them and

avoided the significant out-of-pocket costs they have or will incur to repair or replace Class

Devices once the Defect manifests.

          183.      Lenovo’s acts were done maliciously, oppressively, deliberately, and with intent to

defraud, and in reckless disregard of Plaintiffs and Class members’ rights and well-being, and in

part to enrich itself at the expense of consumers. Lenovo’s acts were done to gain commercial

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advantage over competitors, and to drive consumers away from consideration of competitor

devices. Lenovo’s conduct warrants an assessment of punitive damages in an amount sufficient to

deter such conduct in the future.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, on behalf of themselves and members of the Class, respectfully

request that this Court:

          A. determine that the claims alleged herein may be maintained as a class action under Rule

               23 of the Federal Rules of Civil Procedure, and issue an order certifying one or more

               Classes as defined above;

          B. appoint Plaintiffs as the representatives of the Class and their counsel as Class counsel;

          C. award all actual, general, special, incidental, statutory, punitive, and consequential

               damages and restitution to which Plaintiffs and the Class members are entitled;

          D. award pre-judgment and post-judgment interest on such monetary relief;

          E. grant appropriate injunctive and/or declaratory relief, including, without limitation, an

               order that requires Lenovo to repair, recall, and/or replace the Class Devices;

          F. award reasonable attorneys’ fees and costs; and

          G. grant such further relief that this Court deems appropriate.

                                           JURY DEMAND

          Plaintiffs, on behalf of themselves and members of the Class, respectfully demand trial by

jury on all matters.




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Dated: April 27, 2020                   Respectfully submitted,


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